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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                             Tallahassee Division

AUGUST DEKKER, legally known as                )
KORI DEKKER; BRIT ROTHSTEIN;                   )
SUSAN DOE, a minor, by and through             )     Civil Action No.
her parents and next friends, JANE             )     4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                  )
minor, by and through his parent and           )
next friend, JADE LADUE,                       )
                                               )
                                  Plaintiﬀs,   )
 v.                                            )
                                               )
SIMONE MARSTILLER, in her                      )
official capacity as Secretary of the          )
Florida Agency for Health Care                 )
Administration; and FLORIDA                    )
AGENCY FOR HEALTH CARE                         )
ADMINISTRATION,                                )
                           Defendants.         )
                                               )

      Declaration of Zoe Hawes In Support of Defendants’ Opposition to Plaintiffs’
                          Motion for Preliminary Injunction

I, Zoe Hawes, declare as follows:

        1.     I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of

Defendants’ opposition to Plaintiffs’ Complaint and Motion for Preliminary

Injunction.

        2.     Florida Administrative Code § 59G-1.050(7), which prohibits
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Medicaid coverage for medical and surgical interventions meant to “alter primary

or secondary sexual characteristics,” is a necessary and potentially life-saving

regulation that will protect vulnerable young people from the regret of false

promises, deteriorating mental health and loss of life.

      3.      I'm a 23-year-old wife and expectant mother who would have been

deprived of motherhood if state funding of medical and surgical interventions had

been available when I was a traumatized teenager looking for a quick fix to relieve

my pain.

      4.       A series of traumatic events, including my parents’ divorce when I

was 8 years old, my mother’s mental health struggles, including her suicide

attempts, and being molested by a classmate at school, left me with significant

mental health problems by the age of 15.

      5.      I was diagnosed with major depression, anxiety, complex PTSD and

Obsessive-Compulsive Disorder by different doctors at mental hospitals. I saw

several therapists and psychiatrists.

      6.      When I was 16 years old, I was attracted to women and began

researching the LGBTQ community online. I came across a book, “Some Assembly

Required,” which was a memoir of a female to male transgender young person. I

was extremely depressed at the time and immediately resonated with the young

person’s story. It became the explanation I clung to for the pain in my life.

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      7.     My mom found a gender therapist who did the bare minimum required

to be able to write a letter approving me for hormones. I saw her for three months,

but she asked me very few questions. I was desperate to get the hormones, so I was

willing to say anything to get the letter. I was diagnosed with gender dysphoria and

encouraged to pursue medical transition.

      8.     Once I received the letter from the gender therapist, an Endocrinologist

prescribed testosterone for me at age 16 with my mom’s consent. At first, my mother

did not know what to think, but I was so suicidal that she was willing to go along.

      9.     I was on testosterone for nearly 4 years. At age 16, I was absolutely

convinced that I was a male in a female body, and that transitioning from female to

male was the only thing that would bring me peace.

      10.      My body started to masculinize pretty quickly after I began

testosterone injections. I developed a more male musculature. My hips seemed

narrower. My jaw seemed more angular. Facial hair grew. Every change in my body

that made me appear more masculine made me euphoric. I was quickly able to

present socially as male without people recognizing I had been born female.

      11.      I also became more angry and developed debilitating anxiety while on

testosterone. I felt tired and gained a lot of weight. My mental health was




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negatively affected by the testosterone. The initial euphoria would wear off and I

would still have the same problems.

      12.     I was introduced to the LGBTQ community. I joined an LGBTQ group

for young people in my city, where I was “love bombed” and affirmed in my new

identity. The group encouraged me to cut off anyone who did not affirm my male

identity, new name, and new pronouns. I followed that advice and became estranged

from my father and his family, who would not affirm the male identity. I did not talk

to my father’s family for over four years.

      13.      I was also binding my breasts, which was causing chest pain and

headaches.

      14.      My mental health was terrible while I was on testosterone. I was

hospitalized six times while on testosterone and in each case the doctors affirmed

my male identity. I was also in outpatient programs multiple times. In 2018, I tried to

commit suicide and was again hospitalized. Finally, I began to do the inner work I

needed to do to start to heal.

      15.     At age 20, I stopped taking testosterone and my body began to regain

its female characteristics. I am no longer on any mental health medications or

receiving therapy. I believe the gender dysphoria was brought on by trauma and

culture – by people and medical professionals encouraging me to believe that

becoming a man was an option and transitioning would bring me peace.


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      16.    I reconciled with my father’s family, who remained an anchor to

reality and affirmed me as the woman that I am and who have helped me on the long

journey to learn what is means to be a woman, a daughter, and now a wife and

mother.

      17.    At the time that I was taking testosterone, between ages 16 and 20, I

desperately wanted gender transition surgeries. I wanted a double mastectomy

because I was binding and it was very uncomfortable, so much so that I once had

threatened to take a knife to my chest. I also wanted a hysterectomy because at that

age I did not want to have to worry about periods or ever getting pregnant.

      18.    The only reason I did not get the surgeries was that I did not have the

money to pay for them. If the state had been willing to pay for them through

Medicaid, then I absolutely would have had them, and would have never found the

peace with my female body I now enjoy and would not be able to experience being a

mother or breastfeeding my son.

      19.      If access to these treatments is easily affordable, then it could do great

damage to a young person that may not be able to be undone.

      20.    I am convinced that funding these treatments is funding a false

chemical or surgical promise – that these chemicals or surgery will bring lasting

peace to what is truly causing body dysphoria. This would mask a great deal of




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mental illness. It would likely result in increased suicides, as these treatments

almost did to me.

      21.     By not having state funding available for these procedures, I was

saved, as was my future child. This regulation will save lives.

       I declare under penalty of perjury that the foregoing is true and correct.

       Dated: October 3, 2022.

                                                      /s/ Zoe Hawes
                                                      Zoe Hawes




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